Case 5:15-cr-00184-SMH-MLH          Document 88      Filed 06/14/16   Page 1 of 4 PageID #:
                                          227



                          UNITED STATES DISTRICT COURT
                          WESTERN DISTRICT OF LOUISIANA
                              SHREVEPORT DIVISION


 UNITED STATES OF AMERICA                            CRIMINAL ACTION NO. 15-00184-02

 VERSUS                                              JUDGE S. MAURICE HICKS, JR.

 LACOYA WASHINGTON                                   MAGISTRATE JUDGE HORNSBY


                                 MEMORANDUM ORDER

        Defendants Tyrone Smith (“Smith”) and Lacoya Washington (“Washington”) were

 indicted on one count of sex trafficking a minor in violation of 18 U.S.C. § 1591. See

 Record Document 1. Smith was also indicted on one count of enticing a minor to travel in

 interstate commerce to engage in illegal sexual activity in violation of 18 U.S.C. § 2422.

 See id. The matter is set for jury trial on July 11, 2016.

        Now before the Court is a Motion to Sever Trial (Record Document 52) filed by

 Washington. She argues that her level of involvement in the alleged crime is minimal,

 particularly compared to that of Smith. She believes she is at risk for being punished for

 the alleged illegal acts of Smith.     In the motion, defense counsel also notes that

 Washington intends to testify at trial, which could provide damaging evidence against Smith

 and “result in a swearing match between the two defendants.” Record Document 52-1 at

 3. Washington maintains that the cumulative effect of the circumstances set forth above

 is unfair prejudice and “to avoid the spillover effect and any [S]ixth [A]mendment

 challenges,” she requests a severance under Federal Rule of Criminal Procedure 14(a).

 Id.

        The Government has opposed the motion, arguing the Washington’s claims of
Case 5:15-cr-00184-SMH-MLH           Document 88       Filed 06/14/16     Page 2 of 4 PageID #:
                                           228



 spillover and disparity in evidence lack merit and do not justify severance under Rule 14(a).

 See Record Document 59. The Government also contends that Washington is not entitled

 to a severance simply because she may suffer from inconsistent or antagonistic defenses

 of her codefendant. She must show more than antagonistic defenses, namely that the

 defenses are mutually exclusive and irreconcilable. Finally, the Government maintains that

 any argument of unfair prejudice is mere speculation at this stage.

 Rule 14(a) Standard

        Rule 14(a) provides that “[i]f the joinder of offenses or defendants in an indictment,

 an information, or a consolidation for trial appears to prejudice a defendant or the

 government, the court may order separate trials of counts, sever the defendants’ trials, or

 provide any other relief that justice requires.” F.R.Cr.P. 14(a). “Mutually antagonistic

 defenses are not prejudicial per se.” Zafiro v. U.S., 506 U.S. 534, 538, 113 S.Ct. 933, 938

 (1993). Severance under Rule 14(a) is not required even if prejudice is shown. See id. at

 538-539. Instead, “the tailoring of the relief to be granted, if any,” is left to the sound

 discretion of the district court. Id. at 539. “When defendants properly have been joined

 under Rule 8(b), a district court should grant a severance under Rule 14 only if there is a

 serious risk that a joint trial would compromise a specific trial right of one of the defendants,

 or prevent the jury from making a reliable judgment about guilt or innocence.” Id. The

 Zafiro court went on to explain:

        Such a risk might occur when evidence that the jury should not consider
        against a defendant and that would not be admissible if a defendant were
        tried alone is admitted against a codefendant. For example, evidence of a
        codefendant’s wrongdoing in some circumstances erroneously could lead a
        jury to conclude that a defendant was guilty. When many defendants are
        tried together in a complex case and they have markedly different degrees
        of culpability, this risk of prejudice is heightened. . . . The risk of prejudice

                                          Page 2 of 4
Case 5:15-cr-00184-SMH-MLH           Document 88       Filed 06/14/16     Page 3 of 4 PageID #:
                                           229



        will vary with the facts in each case, and district courts may find prejudice in
        situations not discussed here. When the risk of prejudice is high, a district
        court is more likely to determine that separate trials are necessary, but . . .
        less drastic measures, such as limiting instructions, often will suffice to cure
        any risk of prejudice.

 Id.

 Analysis

        The instant motion was filed in April 2016. Since that time, Smith is proceeding pro

 se. See Record Document 71. As evidenced by Smith’s failure to participate in the pretrial

 conference, the unruly conduct of Smith is a new issue this Court must consider in the

 context of Washington’s request for a severance.            See Record Document 87.          In

 determining whether to sever Washington from Smith, this Court “ must balance potential

 prejudice to [Washington] against the public interest in joint trials where the case against

 each defendant arises from the same general transaction.” U.S. v. Simmons, 374 F.3d

 313, 317 (5th Cir. 2004). Here, the Court finds that the grounds set forth in Washington’s

 motion, along with Smith’s pro se representation, demonstrate clear, specific and

 compelling prejudice that necessitates a severance. See id. This Court believes that it will

 be unable to afford protection to Washington in the absence of severance. See id. The

 prejudice created by “spill-over” is heightened in this case, as the most incriminating

 evidence pertains to Smith and his propensity for outbursts and disruption, as evidenced

 in the May 26, 2016 hearing and the June 9, 2016 pretrial conference, will likely carry over

 into the trial of this matter. No jury instruction can cure this risk of prejudice. Accordingly,

 Washington’s Motion to Sever Trial (Record Document 52) is GRANTED.




                                          Page 3 of 4
Case 5:15-cr-00184-SMH-MLH    Document 88     Filed 06/14/16   Page 4 of 4 PageID #:
                                    230



      IT IS SO ORDERED.

      THUS DONE AND SIGNED, in Shreveport, Louisiana, this 14th day of June, 2016.




                                   Page 4 of 4
